Case 1:17-cv-11008-MLW Document 52-8 Filed 10/16/17 Page 1 of 5




          EXHIBIT 43
         Case 1:17-cv-11008-MLW Document 52-8 Filed 10/16/17 Page 2 of 5

                                                                           FILED
                                                                       AUG O7 2008
                                                                  Frank M. Ciuffani, P.J., Ch.

                                                     SUPERIOR COURT OF NEW JERSEY
JOHNSON   &           JOHNSON         and     CORDIS CHANCERY DIVISION
CORPORATION,                                         MIDDLESEX COUNTY
                                                     DOCKET NO. MID-C-141-08

                                              Plaintiffs,
                          vs.                                                 CIVIL ACTION

STENTYS, INC. and JIN S. PARK,                                             CONSENT ORDER

                                            Defendants.



        The Plaintiffs, Johnson & Johnson ("J&J") and Cordis Corporation ("Cordis"), and the

Defendants, Stentys, Inc. ("Stentys") and Jin S. Park ("Park"), having entered into a Settlement

and Release Agreement, desire to settle all matters in issue, and the Court, being duly advised;

and for good cause shown;

       IT IS on this ~ day of August, 2008,

        ORDERED, that this Consent Order shall be the final judgment with prejudice of the

Court and is a full resolution of all issues addressed herein; and it is further

       ORDERED that the Court has jurisdiction over the enforcement of this Consent Order

and has personal jurisdiction over the parties hereto; and it is further

        ORDERED that Defendants Stentys and Park be and are hereby enjoined and restrained

as follows:
        Case 1:17-cv-11008-MLW Document 52-8 Filed 10/16/17 Page 3 of 5



       1.      Park shall not provide any services to, hold any employment position or engage in

any employment activity with Stentys, directly or indirectly, or act as a consultant for Stentys,

directly or indirectly, for the fourteen (14) month period beginning on July 1, 2008 and ending

on August 31, 2009. Stentys shall not employ or accept any services from Park, directly or

indirectly, or use Park as a consultant, directly or indirectly, for the fourteen (14) month period

beginning on July 1, 2008 and ending on August 31, 2009.

       2.      Park shall not disclose, use, disseminate, lecture upon or publish any Confidential

Information as defined in the Employee Secrecy, Non-Competition and Non-Solicitation

Agreement that Park executed in or about March 2001 (the "March Agreement"). Stentys shall

not (1) request, permit or cause Park to disclose or use Confidential Information (as defined in

the March Agreement), and (2) receive, use and/or disclose any such Confidential Information.

       3.      The restrictions set forth above that are applicable to Park and/or Stentys shall

apply to their officers, agents, employees, and attorneys, and upon such persons in active concert

or participation with them as receive actually notice of the Consent Order by personal service or

otherwise.

       5.      For each month that Park is able to demonstrate entitlement thereto pursuant to

Provisions 9 and 10 of the March Agreement, Cordis will pay Park his gross monthly pay, pro

rata, subject to the appropriate withholdings such as federal, state, or local taxes. The Parties

agree that the applicable gross monthly pay for Park equals $9,462.50.




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          Case 1:17-cv-11008-MLW Document 52-8 Filed 10/16/17 Page 4 of 5




          ORDERED that pursuant to the parties' joint stipulation and agreement herein, this Court

 retains personal jurisdiction over Cordis, J&J, Stentys and Park. and retains exclusive

 jurisdiction to resolve disputes arising out of this Consent Order and the Scrtlement and Release

 Agreement. including but not limited to a motion for contempt of court alleging that the terms of

 the Consent Order have been violated; and it is further


          ORDERED that plaintiffs' counsel will serve a "filed" copy of this Order on defendants'

 counsel within~ days of receipt hereof.




                                      CONSENTED TO BY:


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      _--~,.
~---,--                                                     -.....-..........---------
 Qlenn A. Clark. l:sq.                                      Amy L. Vent , Esq.
 RN<.ER DANZIG SCHERER HYLAND &                             NIXON PEABODY, LLP
    ERRETT!, LLP                                            Attorneys for Stentys Inc. and Jin S. Park
 Attorneys for Plaintiffs                                   50 Jericho Quadrangle, Suite 300
 Johnson & Johnson and Cordis Corporation                   Jericho, New York 11753
 One Speedwell A venue
 Morristown, New Jersey 07962



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                                        Case 1:17-cv-11008-MLW Document 52-8 Filed 10/16/17 Page 5 of 5
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                       '   . , ,:, ·~
                                        DANZIG
           -

                                                                                                                          Attorney
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                                                                                                                      kklele@riker.com
                                                                                                                   Reply to: Morristown
    ATTORNEYS                                 AT    LAW




                                        August 6, 2008

                                        VIA FEDERAL EXPRESS
                                        Hon. Frank M. Ciuffani, J.Ch.
                                        New Jersey Superior Court, Chancery Division, Middlesex County
                                        Middlesex County Courthouse, Chambers 306
                                        I JFK Square
                                        New Brunswick, NJ 08903-0964

                                        Re:         lohnson & lohnson and Cordis Corporation v. Stentys, Inc. and
                                                    lin S. Park, Docket No. 141-08

                                        Dear Judge Ciuffani:

                                        We represent plaintiffs)9_hnson-Bc76'fffi"s-o·n-an~ordis Corporation. As Your
                                        Honor knows, the p,9rti~s settled their disputes. As such, please find enclosed a
                                        Consent Order for ~ ~ ' r · ~ x e - c u t r ~ g the above matter.

                                        Thank you for your consideration of this matter.

                                    ,.-- Respectf~-~t subrjftted, .

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                                        K~aled      J.   Klele

                                        cc:        Randy Gidseg, Esq. (via email)

                                        3879402




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